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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC,                      §
                                      §
      Plaintiff,                      §                     Case No: 1:21-cv-00635-UNA
                                      §
vs.                                   §
                                      §
TICKETSOURCE INTERNATIONAL, INC., §
                                      §
      Defendant.                      §
_____________________________________ §

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Scanning Technologies Innovations, LLC (“Plaintiff” or “STI”) files this Notice

of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant Ticketsource International, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with

each party to bear its own fees and costs.

Dated: June 1, 2021                               Respectfully submitted,

                                                  GAWTHROP GREENWOOD, PC

                                                  /s/ David W. deBruin
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